Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 1 of 24



                                UNITED STATES DISTRICIT COURT
                                SOUTHERN DISTRCIT OF FLORIDA

                                       CASE NO.: 18-CV-628788

  A.O., a minor child, by and through his
  parent and natural guardian, URI OSTROVSKY,
                 Plaintiffs,

  vs.

  FLORIDA DEPARTMENT OF JUVENILE
  JUSTICE, and DARREL BRYANT, in his official
  and individual capacities,
                 Defendant.
                                                         /

                                       NOTICE OF REMOVAL

           COMES NOW, the Defendants, FLORIDA DEPARTMENT OF JUVENILE JUSTICE

  and DARREL BYRANT, by and through undersigned counsel, and pursuant to 28 U.S.C.

  §1446(b) removes this action from the Seventeenth Judicial Circuit in and for Broward County,

  State of Florida, and as grounds therefore states the following

        1. The Plaintiff filed the Complaint on or about October 26, 2018.

        2. The Defendant, FLORIDA DEPARTMENT OF TRANSPORTATION (“FDOT”), was

           served on October 31, 2018.

        3. The Defendant, DARREL BRYANT (“BRYANT”), was served on October 31, 2018.

        4. This Notice of Removal is timely filed under 28 U.S.C. §1446(b).

        5. Plaintiff has filed a two count Complaint against the Defendants, consisting of a count for

           negligence and a count for violations of constitutional civil rights against each defendant.

        6. Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over this action. This

           action alleges one (1) claim under 42 U.S.C. §1983 against each defendant, purportedly

           based on violations of constitutional rights to be free from abuse and intimidation, to be

           free from cruel and unusual punishment, and rights under the Fourteenth Amendment.
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 2 of 24



         This case presents a federal question, and the Plaintiff seeks redress for alleged violations

         of his constitutional rights.

     7. The Court also has jurisdiction over the supplemental state law claims in accordance with

         28 U.S.C. §1367. The Complaint also alleges one (1) negligence claim against each

         defendant.

     8. Pursuant to 28 U.S.C. §1441, this action is removable to this Court.

     9. A copy of the Complaint including exhibits are attached hereto and made a part hereof as

         Composite Exhibit “A” in accordance with 28 U.S.C. § 1446(a).

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was

  served upon John D. Ameen, Esq., 3860 West Commercial Blvd., Tamarac, FL 33309, by E-

  Service on this 27th day of November 2018.

                                                       McGrath Law Group
                                                       700 South Andrews Avenue
                                                       Ft. Lauderdale, FL 33316-1032
                                                       Phone: (954) 525-9981
                                                       Fax: (954) 712-9634
                                                       BY: /s/ Ralph L. McGrath, Jr.
                                                              Ralph L. McGrath, Jr., Esq.
                                                              Florida Bar No.: 449600
                                                              rlm@mcgrath-law.com
                                                              Cameron L. McGrath, Esq.
                                                              Florida Bar No.: 119291
                                                              clm@mcgrath-law.com
Exhibit "A"
         Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 3 of 24
                                        Case Number: CACE-18-025352 Division: 13
   Filing# 79932949 E-Filed 10/26/2018 02:01:49 PM



                                                              1N THE CIRCUIT COURT OF THE J7IB
                                                              JUDICIALCIRCUIT IN AND FOR
                                                              BROWARDCOUNTY FLORIDA
                                                              CIVIL DIVISION

                                                              Case No.

           A.O., a minor child, by and through his
           pat'ellt and natural guardian, URI OSTROVSKY,
                            Plaintiffs,

           vs.

           FLORIDADEPARTMENTOF JUVENILE
           JUSTICE, and DARELL BRYANT,in his official
           and individual capacities,
                          Derendant.
           ---------------'/
                                                  COMPLAINT

                 COMESNOW, the Plaintiff,URI OSTROVSKYas parent and natural guardian of A.O.,

           (hereinafter, "OSTROVSKY"), by and through his undersigned attorneys and sues Defendant,

           FLORIDA DEPARTMENT OF JUVENILE WSTICE, (hereinafter, "DJJ") and DARELL

           BRYANT (hereinafter,"BRYANT"),and alleges as follows:

                                         JURISDICTIONAND VENUE

                 1. This is an action for damages that exceed FIFTEEN THOUSAND DOLLARS

                     ($15,000)exclusive ofinterest, costs and attorney's fees.

                 2. The actions which fonn the basis of the Complaint occurred in Broward County,

                    Florida.

                 3. All the conditions precedentmandated by FLA. STAT. § 768.28 and 42 u.s.c. § 1983 to

                    bring this action have been complied with.




             *** FILED: BROWARDCOUNTY. FL BRENDAD. FORMAN, CLERK 10126/20182:01:47 PM.****
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 4 of 24




                                             PARTIES

          4. At all times material to this Complaint,Plaintiff, URI OSTROVSKY,as parent and

             natural guardian of A.O. (hereinafter,"A.O."), was a resident of Broward County,

             Florida,over the age of eighteen(18) and is otherwisesuijuris.At all times material

             to this Complaint,A.O.was a minor.

          5. At all times material to this Complaint,Defendant,FLORIDADEPARTMENTOF

             JUVENILEJUSTICE, is a political subdivisionof the State of Florida which.was

             operatingthe BrowardJuvenileDetentionCenter(hereinafter,"BJDC"),locatedat 222

             NW22mtAvenue,Fort Lauderdale,Florida.

          6. At all timesmaterialto this Complaint,Defendant,DETENTIONOFFICERDARELL

             BRYANTwas employedat the BJDCfacilityand acted under coloroflaw, to wit under

             the color of the statutes, ordinances,regulations,policies,customs,and usages of the

             State of Florida and the Broward County and within the course and scope of his

             employment.

          7. On October20, 2017, Mr. Ostrovskyprovidedwrittenpre-suit notice of his claims to

             the FloridaDepartmentof JuvenileJustice and to the FloridaDepartmentof Financial

             Services,pursuantto FLA. STAT.§ 768.28. See ExhibitA.

          8. On July 10, 2018, Mr. Ostrovskyprovided additional written pre-suit notice of his

             claims to the Florida Departmentof JuvenileJustice and to the FloridaDepartmentof

             FinancialServices,pursuantto FLA.STAT.§ 768.28. See ExhibitB.

                                   COUNT I- NEGLIGENCE


          9, Plaintiffrepeatsthe allegationsset forth above in paragraphs1 through8 as if set forth

             hereinand would furtherstate.
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 5 of 24




           JO.On or about February 17, 2017 minor, A.O., was 14 years old and pursuant to a court

              order in the care, custody and control of the Defendant, DJJ, at the aforementioned

              facility. A.O. reported a grievance about another youth to BRYANT. BRYANT

              psychologically coerced A.O. by telling him to hit the other youth when no one is

              looking. A.O. complied by throwing a futile jab and the alleged excessive force

              incidentcommenced.

          11. Thereafter, BRYANT in the course and scope of his employment negligentlygrabbed

              the skinny 14-year-oldA.O. by his shirt and thrusted him into a wall of the Broward

              Regional Juvenile Detention Center cafeteria. A.O. remained pinned to the wall for

             about seven seconds, with Officer BRYANT holding him there. BRYANT clutched

             the boy's arm and tossed him onto his back using excessive force. As A.O. lied on his

             back, BRYANT negligently caused injury to A.O.'s face, breaking his nose in two

             places.

          12. As a direct and proximateresult of the Defendant's negligence in this regard, including

             the negligenthiring, training and retention ofBRY ANT, A.O. wasinjured in and about

             his body, endured pain and suffering, mental anguish, loss of enjoyment of life, and

             incurredmedical expenses in the care and treatmentof his injuries. All of these injuries

             are permanent or continuing in nature and he will incur these damages in the future.


         WHEREFORE,the Plaintiff, URI OSTROVSKY as the parent and natural guardian of

   A.O., demands judgment for damages against the Defendant, FLORIDA DEPARTMENTOF

   JUVENILEJUSTICE and forther demandstrial by jury, plus the costs of this action.
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 6 of 24




                              COUNTII - 42 U.S.C.§1983CLAIM
                                  OFFICERDARELLBRYANTAND
                        DF..FENDANT.
                       FLORIDADEPARTMENT      OF JUVENILE JUSTICE

          13. Plaintiff repeats the allegations set forth above in paragraphs l through 8

             as if set forthhereinand would furtherstate:

          14.Plaintiff alleges that Defendant,DJJ, violated his constitutionalrights by failing to

             protecthimfromunsafeconditions,includingthe excessiveuse of physicalforce at the

             hands of facility staff member, DefendantBRYANT,acting within the course and

             scope and trainingof his employer,DJJ.

          15. At all times materialto this Complaint,the actions of BRYANTand DJJ deprived

             Plaintiff,ofhis constitutionalrightsguaranteedby the Constitutionof theUnitedStates

             and protectedby 42 U.S.C. §1983and deprived him of the followingconstitutional

             rights and privileges:

                 a. The right to be free from physicalabuse and intimidationand;

                b. The rightand privilegeto be free from cruel and unusualpunishment;

                 c. Rightsunderthe FourteenthAmendment

          16. At all times materialto this Complaint,the aforementionedactionsof the Defendants

             werecommittedwith recklessor callous indifferenceto Plaintiffs federallyprotected

             rights.

          l7. Defendants' actionswere directlyresponsiblefor the deprivationof constitutionally

             protectedrights of the Plaintiff,and in doing so misusedthe power possessedby the

             virtue of state law and made possiblebecausethe Defendants,were actingunder the

             color of state law.
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 7 of 24




            I 8. Plaintiff has necessarilyhad to hire counsel to protect his interestsand those of his son,

               A.O.

           WHEREFORE,the Plaintiff; URI OSTROVSKY,as the parent and natural guardian of

     A.O., demands judgment for damages against the Defendants, FLORIDA DEPARTMENTOF

     JUVENILE JUSTICEand DARELLBRYANT, for an <1mount
                                                    in excess of$l 5,000.00plus costs

    and attorneys' fees, and further demands trial by jury.

    DATEDthis o:\1l-,- dayofOctober,2018.

                                                  LAWOFFICESOF JOHND. AMEEN,P.A.
                                                  Attorneys for Plaintiff
                                                  -Attorneys atLaw-
                                                  3860 West CommercialBlvd.
                                                  Tamarac, FL 33309
                                                  Phone:(954) 763-4950
                                                  Fax: (954) 981-7350
                                                  Email: JA1nee11(dlprotecti11gvo11.com
                                                  Email: T,service<iqprolecti11gi,011.co111




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Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 8 of 24




                       EXHIBITA
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 9 of 24




                                                                                                   JOHND, AMEEN,Eso.,
PROTECTING .COM
                                                                                                        L. JONES,ESQ.,
                                                                                                   TAMIKA
                                                      Octobe.t20, 2017


          Via Certified Mail

         Officeof GeneralCounsel
         FloridaDepartmentof JuvenileJustice
         2737Centerview Drive,#3200
         Tnllahass,:Q,
                    FL 32399

                  Re:     Our Client:
                          D/B:
                          Pla<:eof Birth:
                          SSN:
                                                   Allllo-
                                                    10/9/1001
                                                   ililMaine
                          D/Incident:              7Jl2/17
                          CCCIncidentNo.           201700750
                          Facility:                Browa,dRegionalJuvenileDetentionCenter

         DearSir or Madam:
               Please be advised that our law firm representsUri Ostl'ovskyas parent and natwal
         guardianof~                  a mlnor,who was beingheld at the JuvenileDetentionCenterin
         ~rowardCounty,Florida,on Febmary 12, 2017, Whileat the DetentionCenterAlllllwas
         v~       attacked by a detentionguard, Darrcl.
                                                      l Bzyant, who struck and seriouslyil'ljured
         >all Cllllllwho      was 14yearsold at thetimeandin thecW!tody   of Danell Bryant.

                Pleaseconsiderthis lo be fonnal notice underFloridaStatutesof the claim againstthe
         Departmentof JuvenileJUlltieeon behalfof 411111  OIIIIII a minor,~ough his fatherand
         naturalguardian,Uri Ostrovsky.

                 Thankyoufor yourattentionto thismatt!ll'.
                                                  Vezytrulyyours,



                                                           By:



         MJS/sr




Tel, 954.763.49SO l TollFree: 800.555.401 I l fax; 954.981.7350 I 3860 WR.+ r,"""' 4 ~,~1 R~ .. i-,,.....1
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 10 of 24


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    PROTECTING                     .COM                                                                       JOHN D. AMEEN,EsQ
                                                                                                                    L JONES,tSO...
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                                                         October20, 2017


           Via CertifiedMail
           ChiefFinancial·officer
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           200 E. GainesStreet
           Tallahassee,FL 32399

                   Re:      Our Client:               ...       ~



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                            CCCIncidentNo.            201700750
                            Facility:                 BrowardRegionalJuvenileDetentionCenter

           DearSir or Madron:

                   We are placingyou on noticeof a claimbeing broughton behalfof A       O         ,a
           minor,throughhis father and naturalguardian,Uri Ostrovsky,for injuriessufferedwhile in the
           custodyof the Departmentof JuvenileJustice. We have encloseda copy of the letter that was
           sent to the Departmentof JuvenileJustice.

                   Thankyou for your attentionto this matter.

                                                               Verytrnly yours,




          MJS/sr
          Enc.

          cc: client




Tel: 954.763.4950 I Toll Free: 800.555.4011 f F"" 9!\:,i QJ!1 7~~" 1 ,.,,...,., ••• ,... _____ ,., "·   .o.     •   ¥
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Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 15 of 24




                       EXHIBIT B
Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 16 of 24




   PROTECTING
            ·                    .COM                                                             JOHN D. AMEEN, ESQ..
                                                        July 10,2018                           DANIELJ.L£VENS0N,ESQ,_
                                                 Direct Phone No. 954-727-0997                             OFCOVNScL
                                                 Direct Fax No.   954·727-0998
                                                                                                 MARTINJ.SPERRY,ES~
                                                                                                     '80Al\0      CERTIFIED

          VinCertifiedMail                                                                           CIVIL TRIAL LAWYER


          Officeof GeneralCounsel                          Supplementto Notice Pursuant to §768.28(6)(e)
          FloridaDepartmentof JuvenileJustice
          2737CenterviewDrive,#3200
          Tallahassee,FL 32399

                  Re:     Our Client:             A       Cllall
                          D/B:                     10/9/1001
                          Placeof Birth:          ...         ne
                          SSN:
                          D/Incident:              2/12/17
                          CCCIncidentNo;           201700750
                          Facility:                BrowardRegionalJuvenileDetentionCenter

          Dear Sir or Madam:

               As a supplementto the statutorynotice, we are advising you that to the best of our
          knowledgethereexistsno prioradjudicatedunpaidclaimsin excessof$200.00.

                  Thankyoufor your attentionto this matter.

                                                           Verytrulyyours,




          MJS/sr




Tel: 954.763.4950 f Toll Free: 800.555.4011   ! Fax: 954.981.7350 I 3860 Wast Commerr.1~1R..,,,16,~•~.   T,=-.-     c,   •••=
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 Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 19 of 24




    PROTECTING· .COM                                                                         JOHN D.AMEEN,ESQ
                                                                                            DANIELJ,LEVENSON,
                                                                                                            l:SQ
                                                    July 10,2018                                     Of COUNSJ;L
                                               DirectPhoneNo.964-727-0997                    MARTINJ.SPERRY.
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          Via CertifiedMail
                                                       · Supplement to Notice Pursuant to §768,28(6)(c)
         · ChiefFinancialOfficer
           Departmentofinsurancc(InsuranceCommissioner)
           200 E. GainesStreet
           Tallahassee,FL 32399

                 Re:     OurClie11t:            Alllloaalll
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                         D/IncidCllt:           2/I2/17
                         CCCIncidentNo.         2017007SO
                         Facility:              BrowardRegionalJuvenileDetentionCenter

          DearSir or Madrun:

               As a supplementto the statutorynotice, we are advisingyou that to the best of our
          knowledgethereexistsno prior adjudicated
                                                 unpaidclaimsin excessof $200.00.

                 Thankyoufor your attentionto thismatter,

                                                          Verytrulyyours,




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JS 44 (Rev. 06/17) FLSD Revised 06/01/2017      COVER
                                             1 Entered onSHEET
                                                          FLSD Docket 11/27/2018 Page 23 of 24
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS A.O., a minor child, by and through his parent                                          DEFENDANTS Florida Department of Juvenile Justice and Darell
                      and legal guardian, Uri Ostrovsky,                                                                 Bryant.

   (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
  Law Offices of John D. Ameen, P.A., 3860 West Commercial Blvd.,                                             McGrath Law Group, 700 South Andrews Ave., Fort Lauderdale, FL
  Tamarac, FL 33309, (954)763-4950;                                                                           33316
(d) Check County Where Action Arose:                MIAMI- DADE        MONROE      ✔ BROWARD        PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
    1    U.S. Government              ✔   3                 Federal Question                                                     PTF          DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State           1             1     Incorporated or Principal Place          4      4
                                                                                                                                                       of Business In This State

    2    U.S. Government                  4                    Diversity                           Citizen of Another State             2          2   Incorporated and Principal Place          5       5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                   Citizen or Subject of a              3          3   Foreign Nation                            6       6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                    PERSONAL INJURY                     PERSONAL INJURY                625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                       310 Airplane                        365 Personal Injury -              of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product                    Product Liability          690 Other                                  28 USC 157                       3729 (a))
  140 Negotiable Instrument             Liability                      367 Health Care/                                                                                         400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &                    Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment         Slander                            Personal Injury                                                   820 Copyrights                     430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’                  Product Liability                                                 830 Patent                         450 Commerce
  152 Recovery of Defaulted             Liability                      368 Asbestos Personal                                                 835 Patent – Abbreviated           460 Deportation
                                                                                                                                             New Drug Application
      Student Loans                340 Marine                              Injury Product                                                    840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)             345 Marine Product                      Liability                           LABOR                           SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment           Liability                     PERSONAL PROPERTY               710 Fair Labor Standards               861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits        350 Motor Vehicle                   370 Other Fraud                    Act                                862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits          355 Motor Vehicle                   371 Truth in Lending           720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                   Product Liability               380 Other Personal             740 Railway Labor Act                  864 SSID Title XVI                 Exchange
  195 Contract Product Liability ✘ 360 Other Personal                      Property Damage            751 Family and Medical                 865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                        Injury                          385 Property Damage                Leave Act                                                             891 Agricultural Acts
                                   362 Personal Injury -                   Product Liability          790 Other Labor Litigation                                                893 Environmental Matters
                                       Med. Malpractice                                               791 Empl. Ret. Inc.                                                       895 Freedom of Information
       REAL PROPERTY                  CIVIL RIGHTS                    PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS                 Act
   210 Land Condemnation         ✘ 440 Other Civil Rights               Habeas Corpus:                                                       870 Taxes (U.S. Plaintiff          896 Arbitration
   220 Foreclosure                 441 Voting                           463 Alien Detainee                                                       or Defendant)                  899 Administrative Procedure
   230 Rent Lease & Ejectment      442 Employment                       510 Motions to Vacate                                                871 IRS—Third Party 26             Act/Review or Appeal of
                                                                        Sentence                                                             USC 7609
   240 Torts to Land               443 Housing/                            Other:                                                                                               Agency Decision
                                   Accommodations
   245 Tort Product Liability      445 Amer. w/Disabilities -           530 General                       IMMIGRATION                                                           950 Constitutionality of State
                                                                                                                                                                                Statutes
    290 All Other Real Property             Employment                  535 Death Penalty             462 Naturalization Application
                                        446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                            Other                       550 Civil Rights                  Actions
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN                  (Place an “X” in One Box Only)
                                                                                           Transferred from           6 Multidistrict
    1    Original     ✔2    Removed         3 Re-filed          4 Reinstated           5                                                      7 Appeal to               8 Multidistrict
         Proceeding         from State        (See VI             or                       another district           Litigation
                                                                                                                                                District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                            Appellate Court
                            Court             below)              Reopened                 (specify)                  Transfer
                                                                                                                                                from Magistrate           – Direct
                                                                                                                                                Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES ✔ NO               b) Related Cases            YES           NO
RE-FILED CASE(S)                                          JUDGE:                                                                                 DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 USC 1441 - removal from state court due to federal question
                                          LENGTH OF TRIAL via 5                 days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                      DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                                                                 JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         November 27, 2018

FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                    IFP                     JUDGE                                       MAG JUDGE
          Case 0:18-cv-62878-DPG Document 1 Entered on FLSD Docket 11/27/2018 Page 24 of 24
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017


                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.
       (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
